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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION

  YURY REMEDIO                                       CIVIL ACTION

  versus                                             NO.: 6:21-cv-03527

  NOBLE DRILLING (U.S.), LLC                         DISTRICT JUDGE
  ET AL                                              ROBERT R. SUMMERHAYS

                                                     MAGISTRATE JUDGE
                                                     CAROL B. WHITEHURST




                             NOTICE OF STAY OF PROCEEDINGS

           NOW INTO COURT, through undersigned counsel comes Defendants, Noble Drilling

 (U.S.), LLC, Noble Drilling Services LLC f/k/a Noble Drilling Services, Inc., and Noble Drilling

 Holding LLC who hereby provide notice to this Court and to all counsel of record that the above

 captioned action is to be stayed in accordance with the Order Approving Limitation Petitioners’

 Security, Directing Issuance of Notice to Claimants and Restraining Prosecution of Claims, signed

 on March 4, 2022, in the case captioned In the Matter of Bully 1 (Switzerland) GMBH, as owner,

 and Noble Drilling (U.S.) LLC, as Owner Pro Hac Vice, of the Globetrotter II; No. 22-566 pending

 before the United States District Court for the Western District of Louisiana.

           A copy of the aforementioned Order is attached as Exhibit “A.”
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                                        Respectfully submitted:

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                                        ATTORNEYS FOR NOBLE DRILLING (U.S.), LLC AND NOBLE
                                        DRILLING SERVICES LLC F/K/A NOBLE DRILLING SERVICES
                                        INC. AND NOBLE DRILLING HOLDING LLC

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this the 9th day of March 2022, I electronically filed the
 foregoing with the Clerk of Court by using the CM/ECF system which will send a notice of
 electronic filing to all counsel of record. I further certify that I mailed the foregoing document and
 the notice of electronic filing by first-class mail to those who are non-CM/ECF participants.

                                                __/s/    Robert M. Kallam________
                                                        ROBERT M. KALLAM
